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          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT

                            ______________

                              No. 23-3228

                     UNITED STATES OF AMERICA,

                                             Plaintiff-Appellee,

                                   v.

                         DONALD J. TRUMP,

                                             Defendant-Appellant
                            ______________

               GOVERNMENT’S OPPOSED MOTION
              FOR EXPEDITED APPELLATE REVIEW
                        ______________

     Pursuant to Fed. R. App. P. 2, the United States of America

respectfully requests that the Court expedite defendant-appellant

Donald J. Trump’s appeal from the district court order dated December

1, 2023. Counsel for the defendant opposes this motion.

                              Background

     A grand jury charged the defendant in a four-count indictment,

ECF No. 1, and trial is scheduled to begin on March 4, 2024. In a single

ruling with accompanying order, dated December 1, 2023, see ECF Nos.

171, 172, the district court denied two motions by the defendant to
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dismiss the indictment on presidential-immunity (ECF No. 74) and

various constitutional (ECF No. 113) grounds.        On December 7, the

defendant noticed an appeal. ECF No. 177. In seeking a stay in the

district court, the defendant suggested he intended to appeal the district

court’s rulings denying his claims that dismissal was warranted on

grounds of presidential immunity and “principles of double jeopardy,”

ECF No. 178 at 2, namely, that his acquittal in impeachment proceedings

precluded his later criminal prosecution.

                                Argument

     The public has a strong interest in this case proceeding to trial in a

timely manner. The trial cannot proceed, however, before resolution of

the defendant’s interlocutory appeal. To further the imperative public

interest in a timely trial, the Government seeks a full and final resolution

of the defendant’s claims—that he is absolutely immune from federal

prosecution for crimes committed while in office or is constitutionally

protected from federal prosecution where he was impeached but not

convicted before the criminal proceedings begin—before the March 4,

2024 trial date. “The public interest in a broad sense, as well as the

constitutional guarantee, commands prompt disposition of criminal


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charges,” Strunk v. United States, 412 U.S. 434, 439 n.2 (1973), as the

district court has recognized when it set trial for March 4, see ECF No.

38 at 53 (Aug. 28, 2023) (district court noting that “the public has a right

to a prompt and efficient resolution of this matter”); id. at 55 (setting trial

date of March 4, 2024, in part to “ensure [fulfillment of] the public’s

interest in seeing this case resolved in a timely manner”); see also

Cobbledick v. United States, 309 U.S. 323, 325 (1940) (“[E]ncouragement

of delay is fatal to the vindication of the criminal law.”).

      To that end, the Government is concurrently filing both a motion to

expedite proceedings in this Court and a petition for a writ of certiorari

before judgment in the Supreme Court, with an accompanying motion to

expedite proceedings in that Court. When the Supreme Court acts on the

Government’s petition for a writ of certiorari before judgment, the

Government will promptly advise this Court. While the Supreme Court

is considering the petition, however, this Court has jurisdiction over the

defendant’s appeal, and immediate entry of an expedited schedule in this

Court will ensure that this Court can resolve the defendant’s claims with

enough time for the Supreme Court to hear and decide the case during




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its current Term in the event that the Supreme Court elects not to grant

certiorari before judgment at this time.

     Expediting the appeal will avoid undue delay and is a common

procedure in interlocutory appeals. See, e.g., Singh v. Berger, 56 F.4th

88, 95 (D.C. Cir. 2022); United States v. Williams Companies, Inc., 562

F.3d 387, 393 (D.C. Cir. 2009); United States v. Phillip Morris Inc., 347

F.3d 951, 952 (D.C. Cir. 2003); National R.R. Passenger Corp. v.

ExpressTrak, L.L.C., 330 F.3d 523, 526 (D.C. Cir. 2003); see also

Coinbase, Inc. v. Bielski, 599 U.S. 736, 745 (2023) (noting that courts of

appeals “possess robust tools to prevent unwarranted delay and deter

frivolous interlocutory appeals,” including that parties may “ask the

court of appeals to . . . expedite an interlocutory appeal . . . or to dismiss

the interlocutory appeal as frivolous”). Indeed, the Court has expedited

the briefing schedule and oral argument in a prior interlocutory appeal

in this case. See United States v. Trump, No. 23-3190, Order (D.C. Cir.

Nov. 3, 2023) (appellant’s opening brief due five days after order;

appellee’s brief due six days later; appellant’s reply brief due three days

after the appellee’s brief; oral argument scheduled for 17 days from the

date of the order); see United States v. Trump, No. 23-3190, Slip Op. at


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11 (D.C. Cir. Dec. 8, 2023) (explaining that the court “set a highly

expedited schedule” given the “approaching trial date”); cf. In re Sealed

Case, No. 23-3001, Order (D.C. Cir. Jan. 25, 2023) (providing similarly

expedited schedule in related matter); In re Sealed Case, No. 23-5044,

Order (Mar. 11, 2023) (same).

     The same expeditious approach is appropriate here.             That is

particularly true in light of the defendant’s assertion that he is immune

from criminal prosecution. See Clinton v. Jones, 520 U.S. 681, 686 (1997)

(noting that “immunity questions should be decided at the earliest

possible stage of litigation”).    Expedited proceedings are likewise

appropriate because the facts at this stage in the proceedings are

“undisputed,” because the indictment’s allegations must be accepted as

true, and the appeal will likely present discrete legal issues that were

“well briefed in the parties’ motion papers.” United States v. Glover, 731

F.3d 41, 45 (D.C. Cir. 1984) (per curiam).

     Wherefore, the Government respectfully requests that this Court

expedite the briefing schedule and oral argument.         Specifically, the

Government requests that the Court require that the defendant’s

opening brief be due no later than ten days from the entry of a briefing


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order. The Government is prepared to file its appellee brief within one

week of the defendant’s opening brief. Any reply brief should be due no

later than three days after the appellee brief, and any oral argument

should be scheduled promptly as appropriate thereafter.



December 11, 2023               Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     1.   This document complies with the type-volume limitations of

Federal Rule of Appellate Procedure 27(d)(2)(A) because it contains 954

words.

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                                         /s/ James I. Pearce
                                         James I. Pearce
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                     CERTIFICATE OF SERVICE

     I hereby certify that on December 11, 2023, I electronically filed the

foregoing Government’s Motion to Expedite with the Clerk of the Court

of the U.S. Court of Appeals for the District of Columbia Circuit using the

appellate CM/ECF system. I certify that all participants in the case are

registered CM/ECF users, and that service will be accomplished by the

CM/ECF system.


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